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lN THE UNITED STATES DISTRICT COURT @5”
FOR THE WESTERN DISTRICT oF TENNESSEE 4')'.. 05

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“““ /71/ 157 nye/0
ANITA RHODES, ) ‘LJ§’@% 15 C/,
) ' if
Plaintiff, )
)
)
VS. ) No. 04-1102»T/An
)
)
ALLSTATE INSURANCE COMPANY )
and ACE AMERICAN INSURANCE )
COMPANY, )
)
Defendants. )

 

ORDER DENYING MOTION FOR VOLUNTARY DISMISSAL

 

On April 29, 2005, the Court issued an order granting the defendants’ motions for
summary judgment; the order Was entered on the docket on May 3, 2005. fn that order, the
Court noted that plaintiff had failed to respond to the motions, and had requested no
extension of time in which to do so. The Court also noted that plaintiff had failed to renew
her earlier motion for voluntary dismissal Without prejudice, even though she had been
advised that she could do so.

It now appears that plaintiff filed a renewed motion for dismissal without prejudice
on the same day the Court issued its order, Apri129, 2005. However, as the Court has now

ruled on the merits, a voluntary dismissal without prejudice is not appropriate Therefore,

This document entered on the docket sheet in co

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the plaintiffs motion for dismissal without prejudice is DENIED.

IT IS SO ORDERED.

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JAMl/Z{ D. TODD
UNI¢ D STATES DISTRICT JUDGE

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DATE

DISTRICT OURT WESTERN D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CV-01102 was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

